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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,



            v.                                     DECISION AND ORDER
                                                       10-CR–188-A

JULIO MANUEL DE LEON-NAVARRO,
et al.,

                               Defendants.


      This case was referred to Magistrate Judge H. Kenneth Schroeder for

supervision of pre-trial proceedings. On December 5, 2011, the United States

filed a motion that the Court order defendants Eric De Leon-Navarro, Sr., Carlos

Cruz, Julio Manuel De Leon-Navarro, Eric De Leon, Jr., and Javier Santiago to

provide voice exemplars to Special Agents of the Federal Bureau of Investigation.

Defendants opposed the motion of the United States. On April 16, 2012,

Magistrate Judge Schroeder issued a Decision and Order granting the motion of

the United States and ordering the named defendants to provide voice exemplars

on certain conditions. Dkt. No. 498.

      Defendant Julio De Leon-Navarro filed an appeal of Magistrate Judge

Schroeder’s Decision and Order. Dkt. No. 501. Defendants Eric De

Leon-Navarro, Sr., Eric De Leon, Jr., and Javier Santiago joined in the appeal.

The Government filed a timely response. Dkt. No. 514. A reply, or notice of no
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reply, by defendants was ordered due August 31, 2012, Dkt. No. 553, but was not

filed. The Court heard oral argument on July 23, 2013.

      Pursuant to 28 U.S.C. §636(b)(1)(A), the District Court “may reconsider

any pretrial matter under this subparagraph (A), where it has been shown that the

magistrate’s order is clearly erroneous or contrary to law.” Id. The Court has

carefully reviewed Magistrate Judge Schroeder’s Decision and Order and the

submissions of the parties. Upon such review, and after hearing argument from

counsel for defendants and counsel for the United States, the Court finds that

Magistrate Judge Schroeder’s Decision and Order is neither clearly erroneous

nor contrary to law.

      Accordingly, the Court affirms the Decision and Order. The case remains

set for jury selection and trial August 20, 2013.

      SO ORDERED.


                                       s/ Richard J. Arcara
                                       HONORABLE RICHARD J. ARCARA
                                       UNITED STATES DISTRICT JUDGE

DATED: July 26, 2013




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